Case 2:1O-cV-02575-cgc Document 1-1

§§ CT Corporation

To: Hattie Booth

Filed 08/05/10 Page 1 of 15 Page|D 4

Service of Process
Transmittal
07/28/2010

cT Log Number517019869

Allstate lnsurance Company
2775 Sanders Road, Corp Litigation --A6

Northbrook, |L 60062-6127

RE1 Process Served in Tennessee

FDR: ALLSTATE |NSURANCE COMPANY (DOmeStiC State: |L)

ENCLOSED ARE COP|ES OF LEGAL PROCESS RECEIVED BV THE STATUTORY AGENT OF THE AB°VE COMPANY AS FOLLOWS:

'rlTLE oF AcrloN=
oocuMENT(s) sERon=

COURTIAGENCY:

NATURE OF ACT|ON:

0N WHOM FROCESS WA$ SERVED:

DATE AND HOUR OF SERV|CE:
APPEARANCE OR ANSWER DUE:

ATToRNEY(s) / sENoER(s)=

REMARKS:

ACT|ON lTEMS:

SlGNED:
PER:
ADDRESS:

TELEFH ON E:

Thomas Stout, Pltf. vs. Allstate lnsurance Company, th.
Letter, Summons, Return Form, Complaint, Exhibits

Shelby County Chancery Court, TN
Case # CH101281

lnsurance Litigation- Policy benefits claimed for property damages and loss due to a

~ fire on 12/18/2009

C T Corporation System, Knoxville, TN
By Certified Mail on 07/28/2010 postmarked on 07/26/2010
Within 30 days from the date this summons is served upon you

Krista Holder-Williams
100 North Main Street
Suite 3300

Memphis, TN 38103
901-521-1455

Process served/received by the lnsurance Commissioner on 07/21/2010, and
received by CT Corporation on 07/28/2010.

CT has retained the current log, Retain Date: 07/28/2010, Expected Purge Date:
08/02/2010

|mage SOP

Email Notification, Patti Cummings pgarq@allstate. com

Email Notification, Hattie Booth HBOOTH@ALLSTATE. COM

Email Notification, Bill Boodro wboodro@allstate.com

C T Corporation System
Anthony Romano

800 S. Gay Street
Suite`0221

Knoxville, TN 37929-9710
800-592-9023

Page1of1/EF

|nformation displayed on this transmittal is for CT Corporation's
record keeping purposes only and is provided to the recipient for
quick reference. This information does not constitute a legal
opinion as to the nature of action, the amount of damages, the
answer date, or any information contained in the documents
themselves Recipient is responsible for interpreting said
documents and for taking appropriate action. Signatures on
certified mail receipts confirm receipt of package only, not
contents.

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STATE 0F TENNESSEE
Department of Commerce and lnsurance
500 James Robertson Parkway
Nashville, TN 37243-1131
PH - 615.532.5260, FX - 615.532.2788
brenda.meade@tn.gov

July 23, 2010

Allstate lnsurance Company Certified Mai|

800 S. Gav Street, Ste 2021, % C T Corp. Return Recelpt Reauested
Knoxvi|le, TN 37929-9710 ` 7009 2820 0003 2648 1583
NA|C # 19232 Cashier # 4397

Re: Thomas Stout V. A|lstate|nsurance Company

Docket # CH-10-1281

To Whom lt May Concern:

Pursuant to Tennessee Code Annotated § 56-2-504 or § 56-2-506, the Department of
Commerce and lnsurance was served July 21, 2010, on your behalf in connection with the
above-styled proceeding. Documentation relating to the subject is herein enclosed

Brenda C. Meade
Designated Agent
Service of Process

Enc|osures

cc: Chancery Court Clerk
Shelby County
140 Adams Street, Rm 308
l\/lemphis, Tn 38103

. Case 2:1O-cV-02575-cgc Document1-1 Filed 08/05/10 Page301°15 Page|D€

 

 

 

 

sTATE 0F TENNESSEE d ` DoCKET NUMBER
30th JUI)ICIAL DISTRICT /
cHANCERY CouRT AT SUMMONS CH- \ 0 " l 23
MEMPHIS
Plaintiff Defendant

/\\161\/1<\§ Sivt> i A\\sluic insurance

 

 

TO: (NAME AND ADDRESS OF DEFENDANT)

/(r\) CAVV“/n l g §l\Me/. OJA jw§d/`a/)(`€ ECert' 'ed Mail
500 :i@l/V\t’< (L()VY,('L§(/\ {afk¢,,/a¢ Mcounty sheriff

Method of Service:

omm. Of Insurance*
[:|Secretary of State*

(\)A§i/\Uli\`€, `[I’\/ 372 \{3 “ H 2 ( []out of county sheriff*

E]Private Process Server

Al\s-to;i*e :EAM@Y\CQ _ _ Elother

_ #Attach , Required Fees_

 

You are summoned to defend a civil action filed against you` in the Chancery Court of Shelby County, Tennessee. Your
answer to this action must be made within thirty (30) days from the date this summons is served upon you. You must
file your answer with the C|erk of the Court and send a copy to the plaintiff's attorney at the address listed below. If
you fail to defend this action within thirty (30) days of service, judgment by default can be rendered against you for

the relief sought in the complaint.

 

Attorney for plaintiff or plaintiff if filing Pro Se:
(Name, address & telephone number(i ISSUED.N~LL[' of :] V~M , 20 {Z)
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TO THE SHERIFF: Came to hand
__ day of , 20

 

Sheriff

 

 

 

**Subm:i_t one original and one copy for each defendant to be served.

! Questions regarding this summons and the attached documents should be
addressed to_ the Attorney listed above.

f'>For ADA assistance only, call(901)379-7895

09/18/01

Case 2:1O-cV-02575-cgc Document1-1 Filed 08/05/10 Page4of 15 Page|D? .

 

 

 

RETURN ON SERVICE OF SUMMONS

 

I hereby_return this summons as follows: (Name of Party Served)

 

 

 

 

 

 

 

 

121 Served 1:1 Not Found
m Not Served n Other
By:
DATE OF RETURN: This day of ,
20 . Sheriff/or other authorized person to serve process

 

 

RETURN ON SERVICE OF SUMMONS BY MAIL

 

`1.,~»,-..¢./ rel ~1.`. `-1,¢.¢ h _.,.-v..¢-l,,w .-.._,.l.

 

 

 

 

 

 

 

I hereby certify and return that on the day of , 20 , I sent, postage prepaid, by registered return
receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in case CH¢ to
the defendant . On the day l~`f , 20_, I received the return
receipt, which had been signed by t on the day of , 20_
The return receipt is attached to this original summons to be filed`by the Chancery Court Clerk & Master.
Sworn to and subscribed before me on this ___ day of Signature of plaintiff, plaintiffs attorney or other person

, 20_. authorized by statute to serve process

Signature of Notary Public or Deputy Court Clerk

 

My Commission Expires:
NOTICE OF PERSONAL

PROPERTY EXEMP'I`ION

TO THE DEFENDANT(S): "

Tennessee law provides a four thousand dollar ($4, 000 00)
debtor’ s equity interest personal property exemption from execution or
seizure to satisfy a judgment If a judgment should be entered against
you in this action and you wish to claim property as exempt, you must
tile a written list, under oath, of the items you wish to claim as exempt
with the clerk ofthe court. The list may be filed at any time and may
be changed by you thereafter as necessary; however, unless it is filed .
before thejudgment becomes final, it will not be effective as to any
execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed; ' ATTACH
these include items of necessary wearing apparel (clothing) for yourself

 

 

. . RETURN
and your family and trunks or other receptacles necessary to contaln
such apparel, family poi“traits, the family Bible, and school books. RECEIPT
Shou|d any of these items be seized you would have the right to HERE
recover them. If you do not understand your exemption right or how to (IF APPLICABLE)

exercise it, you may wish to seek the counsel ofa lawyer.

Mai| list to: Clerk & Master
140 Adams Ave.
Room 308
Memphis, TN 38103

P|ease state file number on list. &§3;,.;1:%£:§.-1&,,,__

 

CERTIFICATION (IF;APBH€WB §)

 

of Tennessee, Shelby County, do certify this to be a true and correct
copy of the original summons issued in this case.

 

I, Dewun R Settle, Clerk & Master ofthe Chancery Court 1n the Statej$ §D€Tun‘il , pitt e, Clerk & Master

 

 

 

 

09/18/07

 

Case 2:1O-cV-02575-cgc Document 1-1 Filed 08/05/10 Page 5 of 15 Page|D 8

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inuE-; _______-BY‘--""'"

vNo. Q'_,;}')D/)?Xl,.
PART J,

   

       
 

   

IN THE CHANCERY COU_RT OF TENNESS
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS,

 

 

THOMAS STOUT
Plaintiff,

'vs.

ALLSTATE INsURANcE coMPAN`Y "
Defendant.

 

CoMPLAiN.T hold idii'i/\j` ibll€ach +lé*:{

 

To the Chancellors of the Chancery Court for the Thirtieth Judicial District:

Comes now the Plaintift`, Thomas Stout, and sues the Defendant, Allstate lnsurance

Company, and for cause of action respectfully shows to the court:
JURISDICTION AND VENUE
I.

Plaintiff, Thomas Stout, is a resident citizen of Memphis, Shelby County, Tennessee,

who currently resides at 5011 Ridge Tree Drive, Memphis, TN 38128.'
II.

That Defendant, Allstate lnsurance Company, is and has been at all times relevant to this
action a licensed insurance company doing business in Tennessee subject to service of process
through the Commissioner of lnsurance and Commerce at 500 J ames Robertson Parkway,
Nashville, Tennessee, 37243-1131. To the best of Plaintiff’s information and belief, Allstate
lnsurance Company is an Illinois corporation, domiciled in Illinois, with business headquarters

located in Northbrook Illinois, 60062.

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EA_QI§
III.
That Plaintiff owned certain real property and dwelling house located at 1659 North
Hollywood, Memphis, TN 38108, and Plaintiff continues to own said property.
IV.
That the Plaintiff owned personal property on December 18, 2009, worth in excess of
Five Thousand Dollars ($5,000.00) located in said house, and Plaintiff continued to own said
personal property until the destruction of said house and personal property by fire, as hereinafter
shown.
V.
That the Defendant, in consideration of monies paid by Plaintiff, issued and delivered to
the Plaintiff, Thomas Stout, a policy of insurance upon said house, being number 9 35 003959
(hereinaiier referred to as the “insurance policy”), which imured the house and personal property

therein against the loss of damage caused by fire for a period of one year from April ll, 2009.

VI.

That said Allstate policy number 9 35 00395 9 insured the house and personal property
therein against the loss or damage caused by fire in the following amounts: One Hundred One
Thousand One Hundred Sixteen Dollars and 00/ 100 ($100,116.00) under Dwelling Protection;
Ten Thousand Twelve Dollars and 00/100 ($10,012.00) under Other Structures; Five Thousand
Six Dollars and 00/ 100 (S5,006.00) under Personal Property; Fair rental income under Fair

Rental Income Protection (Defendant’s loss was four months rent at $1360.00 per month).

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Further coverage is provided under the various provisions and options of said policy, which are
more fully and specifically described by the policy itself.
VII.

That after the delivery of said policy, and before the expiration thereof, on or about
December 18, 2009, the dwelling located at 1659 North Hollywood, Memphi`s, Tennessee 38108,
and the personal property contained therein, burned and totally destroyed.

VIII.

That following the fire the Plaintiff forthwith gave notice to Defendant, filed a claim for
the proceeds of said homeowner’s insurance policy, submitted the proofs required of them by
said insurance policy, and in all particulars complied with the contract

lX.

On April 16, 2010, Plaintiff was sent a letter denying his claim for damages and

retroactively terminating the Plaintifl’s homeowner’s policy. A copy of the letter is attached

hereto .as Exhibit A.

BREACH OF CONTRACT
X.
Plaintiff hereby reiterates and incorporates by reference the facts as set forth in
paragraphs III-IX as the basis for this cause of action.
XI.
That the aforementioned insurance policy formed a legal and binding agreement between
the Plaintiffs and the Defendant, which obligated Defendant to pay Plaintiffs for loss or damage

caused by fire, including, but not limited to, the following amounts, pursuant to the terms of said

 

 

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“Bad-faith failure to pay promptlv. The insurance companies of this state, and

foreign insurance companies and other persons or corporations doing an insurance

or fidelity bonding business in this state, in all cases when a loss occurs and they

refuse to pay the loss within sixty (60) days after a demand has been made by the

holder of the policy or fidelity bond on which the loss occurred, shall be liable to

pay the holder of the policy or fidelity bond, in addition to the loss and interest

thereon, a sum not exceeding twenty-five percent (25%) on the liability for the

loss” (T.C.A. 5657»105[a]).

XVI.

That Defendant has failed and refused to pay the loss Within sixty (60) days of said
demand by denying Plaintiff s claim for loss and Defendant’s denial of the claim is not in good
faith.

XVII.

That Defendant’s failure to pay the Plaintiff has inflicted expense, loss, and injury upon
the Plaintilf, and, accordingly, Plaintiff is entitled to recover, in addition to the amount of the
insured loss and interest thereon, an amount equal to twenty-five percent (25%) of the liability
for the loss, pursuant to T.C.A. §56-7»105.

XVIII.

That Defendant has asserted no factual basis for the denial of Plaintift’s claim after
request for the same was made by Plaintiff’s counsel Please see the correspondence from
attorney for the Defendant attached hereto as Exhibit B.

TENNESSEE CONSUMER PROTECTION ACT
XIX.
Plaintiff hereby reiterates and incorporates by reference the facts as set forth in

paragraphs III-IX as the basis for this cause of action.

XX.

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That Tennessee’s Consumer Protection Act, as set forth in T.C.A. 47-18-101 et
seq., applies to claims handling procedures in insurance disputes
XXI.
That Defendant’s conduct in handling the Plaintiff’s policy and claim was unfair
and deceptive in that Defendant held out in its policy that when premiums are paid in a
timely manner, claims would be paid; Defendant then failed and refused to fully pay
Plaintiff as obligated under the terms of the policy, which clearly shows intent not to
honor the terms ofPlaintiff’s policy,
XXII.
That Defendant’s said unfair and deceptive conduct is in violation of the
Tennessee Consumer Protection Act as set forth in T.C.A. 47-18-101 et seq.
XXIII.
That Defendant’s deceptive practices have inflicted expense, loss, and injury upon
the Plaintiff in that Plaintiff has suffered the loss of his real and personal property without
full compensation, as well as fair rental value for said real property, and has incurred

additional expenses as a result of Defendant’s deceptive practices

XXIV.
That Plaintiff is entitled to treble damages for Defendant’s deceptive and unfair
practices, pursuant to T.C.A. §47-18-109.
XXV.
That Plaintiff is entitled to reasonable attorney fees and costs of this action

pursuant to T.C.A. §47-18'109.

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PRAYERS FOR RELIEF
XXV.

The premises considered,_ Plaintiff respectfully prays:

l. That proper process issue to the State Commissioner of lnsurance for the
Defendant Allstate lnsurance Company.

2. That Defendant, Allstate lnsurance Company be determined to have breached
its policy;

3. That Defendant be estopped to deny the full force and effect of said
homeowner’s insurance policy;

4. That Defendant be determined to have acted in bad faith in denying Plaintiffs
claim;

5. That Defendant be determined to have acted in an unfair and deceptive
manner in violation of the Tennessee Consumer Protection Act as set forth in T.C.A. 47 -
18-101, et seq.;

6. That a judgment be entered for Plaintiff against the Defendant in the amount
of One Hundred Twenty Thousand Five Hundred Seventy Four Dollars and 00/ 100
($120,574.00), pursuant to their insurance policy limits as described in Paragraph Vl, or
other such amount as the Court should deem just, plus prejudgment interest, together with
the costs of this cause;

7. That a judgment be entered for Plaintiii"s against the Defendant for the amount
equal to twenty-five percent (25%) of the liability for the loss, pursuant to T.C.A. §56-7-

105.

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8. That a judgment be entered for Plaintiff against the Defendant for treble
damages for the Defendant’s unfair and deceptive actions, pursuant to T.C.A. §47-18-
l 09.

9. That the Plaintiff be awarded reasonable attorney fees and costs.

10. That the Court order Defendant to pay to Plaintiff all additional amounts

payable under the provisions of said insurance policy when they become due.

11. That the Plaintiff may have such further and other relief as he may be entitled

to.
Respectfully Submitted,

 

KRISTA HOLDER-WILLIAMS #28359

Attom_ey for Plaintiff
100 North Main Street

Suite 3300
Mempliis, TN 38103
(901)521-1455

Certificate of Service

I, Krista Holder-Williams, hereby certify that a copy of the foregoing Complaint has been

forwarded to David M Waldrop, attorney for Allstate lnsurance via US mail at 9032 Stone Walk

Place, Germantown, TN 38138 this day of , 2010.

 

Krista Holder-Williams

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Case 2:10-cv-02575-cgc Document 1-1 Filed 08/05/10 Page 12 of 15 Page|D 15

Claims Capital-Nashville SIU-Nashville

@/msiai wm mm
' ‘I\RSHVILLB' ‘£N 37214

You‘te in good hands

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THoMAs L sToUT `

5011 RIDGE TREE DR

MEMPHIS TN 38128-5011

April 16, 2010

INSURED: THOMAS STOUT PHONE NUl\/IBER.' 800-829-0414
DATE OF LOSS: December 18, 2009 FAX NUMBER: 615-874»6804

"`CilAliVi'l\T-UMBER.""Cl$S$$A$$Al SSH ' `"" "` ” " " ` _OmCE`HO`URS: `M`oix'-'Fr`i 8:00"ani`-'Yl»':3`0 pin

Dear THOMAS L STOUT,

This is to advise you that Allstate lnsurance Company must respectfully deny your claim for insurance proceeds
resulting from a fire which occurred on or about Deceml)er 8, '20110. lt is Allstate’s position the fire was incendiary in origin,
an insured person procured or intentionally set tire to the premises, you committed material misrepresentations during your
examinations under oath and failed to cooperate with Allstate’s investigation Therefore, Allstate hereby denies your claim.

Since an insured person procured or intentionally set fire to the ,premises, there is no coverage for this loss, Your
policy specifically excludes "intentional or criminal acts of an insured person, if the loss that occurs:

a)may be reasonably expected to result from such acts; or

b)is the intended result of such acts."

lt is further Allstate’s opinion that you have committed material misrepresentations during your examinations under
oath and therefore there»is no coverage for this ioss. Your policy specifically provides:

Conceal-ment Or Fraud

We do not cover any loss or occurrence in which any insured person has concealed or misrepresented any material fact or
circumstance

Due to your material misrepresentations made during the investigation of your claim, Allstate hereby exercises its
right to cancel your policy Your policy provides:

Cancellation
Our Ri`ght to Cancel:
Allstate may cancel this policy bymai'ling notice to you at the mailing address shown on the Policy Declarations...

W-hen the policy has been in effect for 60 days or more, or if it is a renewal with .us, we may cancel this policy for one or
more of the follong reasons:

0156534554 SSH

34 l\il>,{`l- id

Case 2:1O-cV-02575-cgc Document 1-1 Filed 08/05/10 Page 13 of 15 Page|D 16

) 3) material misrepresentation, fraud or concealment of material facts in presenting a clairn, or violation of any of the
policy terms;

lf the cancellation is for non-payment of premium, we will give you at least 10 days notice If the cancellation is for any of
the other reasons, we will give you at least 30 days notice.

Please accept this letter as your notice of cancellation Your policy will cancel on May 22, 2010 at 12:01 am.

Allstate hereby reserves all other defenses to this claim.

Thank you for your attention to this matter.

Sincerely,

isM@M F'[£NQ)KICK
SANDRA H:ENDRJCK

800-829-0414
'- --~-~=~-----Mlstate lnsuranee€crnpany """ ‘ ' ~ '- 1 '-

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’ Case 2:1O-cV-02575-cgc Document1-1 Filed 08/05/10

WALDROP, BARNETI`, LAZAROV

ATTORNEvs AT LAw
DAer M. WALnRoP* Co RATE GARDENS
C. J. (JEFF) BARNt~:'l"r*** 9032 STONE WALK PLACE

GERMAN’rowN, T'.-:m~mssnn 38138-7824

, _ _ _ , , TELEPHONE: (901) 759-3489

*Also L\censed m Mlss\sslpp\ FACS|M]LE: (90] ) 759_.3479
***Also Liccnsed in Texas

WRlTER’s E~MA!L ADDRESS:

davidw@wblnlaw,com

June 3, 2010
Krista .Holder-Williams, Esq.
Attorney at Law
100 North Main Street
Suite 3300
Memphis, TN 38103
Re: Insured: Thomas & Hattie Stout
Allstate Claim No.: 0156534554
DOL: 1211 8/2009
Our File No.: 2.5154

Dear Ms. Holder~Williams:

3. 4 Of 15 P l 7
Ql\iEARN,afF.U

CmusroP.HER L. NEARN**
CRA:G J. LAz.ARov'

' Also licensed in A-rkansas
**Rule 31 listed General
Civil Medialor

l represent Allstate lnsurance Company. This to advise that Allstate stands behind its
denial letter sent to Thomas L. Stout. lt is Allstate’s position that the fire was incendiary and an

insured person set or procured the setting of the iire.

Due to the threat of potential litigation, Allstate cannot comment any further on this

matter.
Sincerely,
WALDROP, BARNETT, LAZAROV & NEARN, P.C.
guest %< pfisz z
David M. Waldrop l
DMW:bg

cc: Sandra Hendrick/Allstate

jr \~i ita

 

sTA
DEPARTMENT OF .

500 JAMl-:s RoBERTsoN PARKWA ll

NAsHvlLLr-:, TENNESSEE 37243

 

 

 

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7009 2820 0003 2648 1583

KNOXVILLE, TN 37929-9710

 

07/23/2010

ALLSTATE |NSURANCE COMPANY
800 S. GAY STREET, STE 2021,

% C T CORP.

 

 

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